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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

EUGENIO S. MATHIS as Personal
Representative of the Wrongful Death Estate of
JAMES DUNKLEE CRUZ, Deceased,

               Plaintiffs,
v.                                                                  No. 1:22-cv-00930-SCY-KK

THE NEW MEXICO CHILDREN YOUTH
& FAMILIES DEPARTMENT, and
JESSICA ETOLL in her personal capacity
acting under color of state law; MARVIN PAUL
in his personal capacity acting under color of state
law; MATTHEW HERNANDEZ in his personal
capacity acting under color of state law,
MELISSA GARCIA in her personal capacity
acting under color of state law and JOHN DOES 1-10,
in their personal capacity acting under color of state law,

               Defendants.

                         ORDER GRANTING MOTION FOR STAY

       This matter comes before the Court on a Motion for Stay of Proceedings and Memorandum

In Support (Doc. 39) filed by Defendants Paul, Hernandez, Garcia and New Mexico Children

Youth and Families Department. CYFD (“CYFD Individual Defendants”). The Court having read

the Motion, Plaintiffs’ Response (Doc. 53), and CYFD Individual Defendants’ Notice of

Completion of Briefing (Doc. 58), HEREBY GRANTS THE MOTION AND ORDERS:

       This matter is stayed pending the Court’s ruling on the CYFD Individual Defendants’

Motion to Dismiss for Failure to State and Claim and Qualified Immunity (Doc. 38). However, the

previously scheduled Settlement Conference will proceed on November 28, 2023, and all

associated deadlines and hearing notices set forth in the Court’s Order Setting Rule 16 Settlement

Conference (Doc. 37) remain in effect.

       IT IS SO ORDERED.

                                                      ____________________________________
                                                      KIRTAN KHALSA
                                                      UNITED STATES MAGISTRATE JUDGE
